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                       IN THE UNITED STATES DISTRICT COURT                          pjL^p
                                                                           U.S. DISTRICT COURT
                            FOR THE DISTRICT OF WYOMING
                                                                          DISTRICT OF WYOMING

                                                                        ?m SEP 20 pn 1 17
 UNITED STATES OF AMERICA,
                                                                         STEFli^N HARRIS. CLERK
                                                         No.       9. "(jt - I
                        Plaintiff,
                                                         Ctl: 18U.S.C. §2119
         V.                                                   (Carjacking)

 JONATHAN ALEXANDER                                      Ct 2:   18 U.S.C,§ 924(c)(l)(A)(u)
 OLIVARES,                                                       (Use/Carry a Firearm During and
                                                                 in Relation to a Crime of
                        Defendant.                               Violence)

                                                         Ct 3: 18 U.S.C. §§ 922(g)(1) and
                                                               924(a)(2)
                                                               (Felon in Possession of a Fireann)




                                      INDICTMENT


THE GRAND JURY CHARGES THAT:



                                         COUNT ONE


       On or about June 26, 2018, in the District of Wyoming,the defendant, JONATHAN

ALEXANDER OLIVARES,took a motor vehicle, namely a 2008 Ford Escape bearing

Wyoming registration 19-12914, YIN #1FMCU931X8KC39755, that had been transported,

shipped, and received in interstate commerce,from and in the presence of Debbie Garrison, by

force, violence, and intimidation, with the intent to cause death and serious bodily harm.

       In violation of 18 U.S.C. 2119.
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                                         COUNT TWO


       On or about June 26, 2018, in the District of Wyoming, the Defendant, JONATHAN

ALEXANDER OLIVARES,did knowingly use, carry, and brandish a firearm, namely a Glock

pistol bearing serial number MSK546, during and in relation to the commission of federal crime

of violence. Carjacking, as more specifically set forth in Count One.

       In violation of 18 U.S.C. 924(c)(l)(A)(ii).

                                       COUNT THREE


       On or about June 26, 2018, in the District of Wyoming, the Defendant, JONATHAN

ALEXANDER OLIVARES, having previously been convicted of a crime punishable by

imprisonment for a term exceeding one year, knowingly possessed a firearm, namely, a Glock

pistol bearing serial number MSK546, which had previously traveled in and affected interstate

commerce.



       In violation of 18 U.S.C. §§ 922(g)(1) and 924(a)(2).




                                               A TRUE BILL:


                                               Ink Signature on File in Clerk's Office
                                               FOREPERSON




 MARK A. KLAASSEN
 United States Attorney
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                             PENALTY SUMMARY


DEFENDANT NAME:              JONATHAN ALEXANDER OLIVARES


DATE:                        September 17, 2018

INTERPRETER NEEDED:          No


VICTIM(S):                   Yes


OFFENSE/PENALTIES:


                      Ctl:   18U.S.C.§2119
                             (Carjacking)

                             NMT 15 Years Imprisonment
                             Up To $250,000 Fine
                             3 Years Supervised Release
                             $100 Special Assessment

                      Ct 2: 18 U.S.C.§ 924(c)(1)(A)
                            (Use/Carrying a Firearm During and In Relation to a Crime
                            of Violence)

                             NLT 7 Years To Life Consecutive Imprisonment
                             Up To $250,000 Fine
                             5 Years Supervised Release
                             $100 Special Assessment

                      Ct 3: 18 U.S.C. §§ 922(g)(1) and 924(a)(2)
                            (Felon in Possession of a Firearm)

                             0-10 Years Imprisonment
                             Up To $250,000 Fine
                             3 Years Supervised Release
                             $100 Special Assessment

TOTAL:                       NMT 15 Years plus NLT 7 Years to Life Consecutive
                             Imprisonment
                             Up To $750,000 Fine
                             5 Years Supervised Release
                             $300 Special Assessment

AGENT:                       Jay Johnson, ATF
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AUSA:                        Timothy W. Gist, Assistant United States Attorney

ESTIMATED TIME OF
TRIAL:                        1 to 5 days


WILL THE GOVERNMENT
SEEK DETENTION IN THIS
CASE:                        Yes


ARE THERE DETAINERS
FROM OTHER
JURISDICTIONS:               Yes
